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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

_________________________________________
                                          )
DONALD J. TRUMP, et al.                   )
                                          )
      Plaintiffs,                         )
                                          )
              v.                          )                 Case No. 19-cv-01136 (APM)
                                          )
COMMITTEE ON OVERSIGHT AND                )
REFORM OF THE U.S. HOUSE OF               )
REPRESENTATIVES, et al.                   )
                                          )
      Defendants.                         )
_________________________________________ )

                                                 ORDER

       For the reasons set forth in the court’s Memorandum Opinion, ECF No. 35, the court enters

judgment in favor of the House Oversight Committee and against Plaintiffs. The court denies

Plaintiffs’ request for a stay pending appeal.

       This is a final, appealable order.




Dated: May 20, 2019                                  Amit P Mehta
                                                     United States District Court Judge
